 8:16-cr-00231-RFR-SMB                Doc # 51         Filed: 11/30/16    Page 1 of 1 - Page ID # 108



                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                )
                                                         )                  8:16CR231
                         Plaintiff,                      )
                                                         )
        vs.                                              )                    ORDER
                                                         )
KEVIN PADILLA-OLMEDO,                                    )
                                                         )
                         Defendant.                      )


        This matter is before the court on the motion for an extension of time by defendant Kevin Padilla-

Olmedo (Padilla-Olmedo) (Filing No. 50). Padilla-Olmedo seeks additional time in which to file pretrial motions

in accordance with the progression order. Padilla-Olmedo's counsel represents that government's counsel

has no objection to the motion. Upon consideration, the motion will be granted.

        IT IS ORDERED:

        1.       Defendant Padilla-Olmedo shall file the affidavit required by Paragraph 9 of the Progression

Order (Filing No. 31) within ten days of this order.

        2.       Defendant Padilla-Olmedo's motion for an extension of time (Filing No. 50) is granted.

Padilla-Olmedo is given until on or before December 28, 2016, in which to file pretrial motions pursuant

to the progression order. The ends of justice have been served by granting such motion and outweigh the

interests of the public and the defendant in a speedy trial. The additional time arising as a result of the

granting of the motion, i.e., the time between November 30, 2016, and December 28, 2016, shall be

deemed excludable time in any computation of time under the requirement of the Speedy Trial Act for the

reason defendant's counsel requires additional time to adequately prepare the case, taking into

consideration due diligence of counsel, and the novelty and complexity of this case. The failure to grant

additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

        DATED this 30th day of November, 2016.

                                                             BY THE COURT:


                                                             s/ Thomas D. Thalken
                                                             United States Magistrate Judge
